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16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19

20    WHATSAPP LLC, and
      META PLATFORMS INC.,              )             Case No. 4:19-cv-07123-PJH
21                                      )
                                        )             LOCAL RULE 79-5(F)(3) STATEMENT
                      Plaintiffs,                     IN RESPONSE TO DEFENDANTS’
22                                      )
                                        )             ADMINISTRATIVE MOTIONS TO
             v.                         )             CONSIDER WHETHER ANOTHER
23                                                    PARTY’S MATERIAL SHOULD BE
                                        )
      NSO GROUP TECHNOLOGIES LIMITED )                FILED UNDER SEAL [DKT NOS. 596
24                                                    AND 597]
      and Q CYBER TECHNOLOGIES LIMITED, )
25                                      )
                                        )             Pretrial Conference Date: April 10, 2025
                      Defendants.                     Time: 2:00 p.m.
26                                      )
                                        )             Ctrm: 3
                                        )             Judge: Hon. Phyllis J. Hamilton
27
                                        )             Trial Date: April 28, 2025
28                                      )
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 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Civil Local Rule 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta Platforms, Inc.

 3   (“Plaintiffs”), by and through their counsel, respectfully submit this statement in response to the Ad-

 4   ministrative Motions to Consider Whether Another Party’s Material Should Be Filed Under Seal (the

 5   “Administrative Motions”) filed by Defendants NSO Group Technologies Limited and Q Cyber

 6   Technologies Limited (“NSO”). Dkt. Nos. 596 and 597. 1 The Administrative Motions identify cer-

 7   tain documents filed in connection with NSO’s pre-trial disclosures as containing information that

 8   should be filed under seal (the “Sealed Materials”).2

 9          Plaintiffs request that the Court keep under seal only certain portions of the Sealed Materi-

10   als (collectively, “Plaintiffs’ Confidential Materials”), as set forth in the supporting declaration of

11   Gina Cora (the “Cora Declaration”) filed herewith. Plaintiffs make this request pursuant to Local

12   Civil Rules 79-5(c) and (d). Plaintiffs’ Confidential Materials refer to materials that Plaintiffs have

13   designated and produced in discovery as “Highly Confidential – Attorney’s Eyes Only” pursuant to

14   the August 31, 2020 Stipulated Protective Order. Dkt. No. 132. Plaintiffs have no objection to un-

15   sealing the remaining Sealed Materials and take no position with respect to information designated

16   as confidential by NSO and/or nonparties.

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              Plaintiffs intend this statement to respond to both motions to the extent they are construed
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     as Civil Local Rule 79-5(f) motions. See Dkt. No. 596 (invoking Rule 79-5(f) but primarily fo-
21   cused on Defendants’ own materials and not invoking Rule 79-5(c), which governs sealing a
     party’s own designated materials); Dkt. No. 597 (invoking Rule 79-5(f)(3), which governs re-
22   sponses by designating parties as opposed to initiating motions).
            2
23              In addition to what is identified in NSO’s Administrative Motions, NSO will soon correct
     its filings to expand the scope of its redactions for Plaintiffs’ Confidential Materials. On March 18,
24   2025, Plaintiffs notified NSO that NSO’s publicly filed pre-trial disclosure materials disclosed cer-
     tain of Plaintiffs’ Confidential Materials and asked that NSO correct its filings. On March 19,
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     2025, the parties met and conferred regarding the issue. NSO’s counsel represented that it was una-
26   ble to correct its filings until March 21, 2025, but that it would do so at that time and had no objec-
     tion to Plaintiffs seeking to seal the inadvertently publicly filed information with this filing, rather
27   than make a new submission after NSO accomplished the agreed-upon correction. See Cora
     Decl. ¶ 4.
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                                                         1
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFS’ ADMINISTRATIVE MOTIONS TO CONSIDER WHETHER AN-
     OTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL [DKT NOS. 596 & 597] CASE NO. 4:19-CV-07123-PJH
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 1                                              ARGUMENT

 2          The “compelling reasons” standard applies to sealing motions filed in connection with trial

 3   briefing and motions in limine. Trial briefing, “by definition, [has] more than a tangential relation

 4   to the merits of the case, and therefore the ‘compelling reason’ standard applies.” Meyers v. Kaiser

 5   Found. Health Plan Inc., 2019 WL 120657, at *2 (N.D. Cal. Jan. 6, 2019); see also Baird v.

 6   Blackrock Institutional Tr. Co., N.A., 2021 WL 4820247, at *2 (N.D. Cal. Sept. 29, 2021). Motions

 7   in limine “seek[] to exclude evidence from the trial” and are therefore “more than tangentially re-

 8   lated to the merits of the case.” Skillz Platform Inc. v. AviaGames Inc., 2024 WL 459076, at *2

 9   (N.D. Cal. Feb. 6, 2024) (“Evidentiary motions such as motions in limine … can be strongly correl-

10   ative to the merits of a case” (citing MasterObjects, Inc. v. Amazon.com, Inc., 2022 WL 1144634,

11   at *1 (N.D. Cal. Mar. 9, 2022)); Space Data Corp. v. Alphabet Inc., 2019 WL 8012584, at *1 (N.D.

12   Cal. July 18, 2019) (applying the compelling reasons sealing standard to motions in limine); Fed.

13   Trade Comm’n v. Qualcomm Inc., 2018 WL 6575544, at *2 (N.D. Cal. Dec. 12, 2018) (same).

14          Plaintiffs submit that compelling reasons exist to seal the three categories of information

15   contained in Plaintiffs’ Confidential Materials: (1) identifying information of two of Plaintiffs’ non-

16   testifying employees; (2) individual compensation information of one of Plaintiffs’ employees; and

17   (3) identifying information of two nonparty WhatsApp users targeted by NSO in connection to this

18   lawsuit. The proposed sealing is narrowly tailored and seeks only to protect those portions of the

19   documents that contain such sensitive and confidential information. 3

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22          3
               Certain of the information that Plaintiffs seek to maintain under seal by this statement has
23   been filed publicly by Defendants. See Cora Decl. ¶ 4. Inadvertent disclosure of a party’s confi-
     dential materials should not prevent the Court from granting otherwise appropriate sealing motions.
24   See, e.g., Yan Mei Zheng v. Toyota Motor Corp., 2019 WL 6841324, at *3 (N.D. Cal. Dec. 16,
     2019) (sealing 12 confidential documents after both parties inadvertently filed on the public
25
     docket); Bohannon v. Facebook, Inc., 2016 WL 3092090, at *3 (N.D. Cal. June 2, 2016) (sealing
26   defendant’s confidential information despite inadvertent public filing of the materials by plaintiffs
     on repeated occasions); see also Boston Ret. Sys. v. Uber Techs., Inc., 2024 WL 665647, at *8
27   (N.D. Cal. Feb. 16, 2024) (sealing motion to compel following plaintiff’s inadvertent filing of an
     unredacted version containing both parties’ confidential information).
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                                                       2
     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFS’ ADMINISTRATIVE MOTIONS TO CONSIDER WHETHER AN-
     OTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL [DKT NOS. 596 & 597] CASE NO. 4:19-CV-07123-PJH
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 1   I.       Identifying Information of Two of Plaintiffs’ Non-Testifying Employees

 2            Certain of Plaintiffs’ Confidential Materials contain identifying information regarding two

 3   of Plaintiffs’ non-testifying employees, whose identities are not pertinent to any issue, claim, or de-

 4   fense in this action. See Cora Decl. ¶ 5. “[R]edaction of [their] identifying information is particu-

 5   larly appropriate here, because the public’s interest in the name of [an employee] is likely insignifi-

 6   cant, as the exact name[s are] irrelevant to the legal issues in this case.” O’Connor v. Uber Techs.,

 7   Inc., 2015 WL 355496, at *2 (N.D. Cal. Jan. 27, 2015); see also Ehret v. Uber Techs., Inc., 2015

 8   WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (holding the “specific e-mail addresses” of employ-

 9   ees of a party were “not relevant to the merits of the motion of this case”).

10            In addition, the public disclosure of Plaintiffs’ employees’ names in connection with litiga-

11   tion has sometimes been followed by harassment, online threats, and/or suspicious phone calls, text

12   messages or emails, particularly in cases with significant media attention. Cora Decl. ¶ 3. There is

13   little, if any, public interest in the identities of non-testifying employees here, so the private inter-

14   ests justify sealing, and could not be mitigated by any means less restrictive than the limited redac-

15   tions proposed by Plaintiffs.

16   II.      Individual Compensation Information of Plaintiffs’ Employee

17            Certain of Plaintiffs’ Confidential Materials include the individual compensation details of

18   one of Plaintiffs’ employees. See Cora Decl. ¶ 5. This is sensitive, personal information that is not

19   available to the public. See Ehret, 2015 WL 12977024, at *2 (holding that names and individual

20   earnings may be redacted under both the good cause and compelling reasons standards as the infor-

21   mation “concerns privacy interests”). The release of this information could harm the privacy inter-

22   ests of the listed individual and could not be mitigated by any means less restrictive than the limited

23   redaction proposed by Plaintiffs.

24   III.     Identifying Information of Two Nonparty WhatsApp Users

25            Certain of Plaintiffs’ Confidential Materials include the names of two nonparty WhatsApp

26   users who were targeted by NSO in connection with this case. See Cora Decl. ¶ 5. The targeted

27   users (and WhatsApp users generally) are not parties to the case, nor are Plaintiffs seeking damages

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFS’ ADMINISTRATIVE MOTIONS TO CONSIDER WHETHER AN-
     OTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL [DKT NOS. 596 & 597] CASE NO. 4:19-CV-07123-PJH
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 1   on their behalf. This is confidential, personally identifying information that is not available to the

 2   public, the disclosure of which would risk harm to the privacy interests of the nonparty targeted us-

 3   ers. This harm could not be mitigated by any means less restrictive than the limited redactions pro-

 4   posed by Plaintiffs.

 5          Courts have routinely held that such information satisfies the compelling reasons standard.

 6   See Opperman v. Path, Inc., 2017 WL 1036652, at *4 (N.D. Cal. Mar. 17, 2017) (finding compel-

 7   ling reasons to seal the names and personally identifying information of nonparty social media us-

 8   ers); Am. Auto Ass’n of N. Cal., Nev. & Utah v. Gen. Motors LLC, 2019 WL 1206748, at *2 (N.D.

 9   Cal. Mar. 14, 2019) (granting motion to seal individual names of nonparty customers under the

10   compelling reasons standard); Activision Publ’g, Inc. v. EngineOwning UG, 2023 WL 2347134, at

11   *1 (C.D. Cal. Feb. 27, 2023) (finding compelling reasons “to seal the various parties’ customers’

12   personal information, which includes the customers’ names …. and/or customer activities on cer-

13   tain platforms, in order to protect the customers’ privacy” and “prevent exposure to harm”).

14                                              CONCLUSION

15          For the foregoing reasons, Plaintiffs respectfully submit that the Court grant this motion and

16   maintain under seal Plaintiffs’ Confidential Materials.

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFS’ ADMINISTRATIVE MOTIONS TO CONSIDER WHETHER AN-
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 2    Dated: March 20, 2024                        Respectfully Submitted,

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     LOCAL RULE 79-5(F)(3) STATEMENT IN RESPONSE TO DEFS’ ADMINISTRATIVE MOTIONS TO CONSIDER WHETHER AN-
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